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 8
                            UNITED STATES DISTRICT COURT
 9
                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
   DEXCOM, INC. and CHARLES                   Case No. _21-cv-1677-CAB-LL
11 BOYKIN,
                                              PLAINTIFFS DEXCOM, INC.
12              Plaintiffs,                   AND CHARLES BOYKIN’S
                                              MEMORANDUM OF POINTS
13 v.                                         AND AUTHORITIES IN
                                              SUPPORT OF ITS
14 MEDTRONIC, INC.,                           OPPOSITION TO DEFENDANT
                                              MEDTRONIC, INC.’S NOTICE
15              Defendant.                    OF MOTION AND MOTION TO
                                              DISMISS
16
                                              PER CHAMBERS RULES, NO
17                                            ORAL ARGUMENT UNLESS
                                              SEPARATELY ORDERED BY
18                                            THE COURT
19                                             Date:    November 29, 2021
                                               Time:    TBD
20                                             Dept:    15A
                                               Judge:   Hon. Cathy Ann
21                                             Bencivengo
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  1 I.         INTRODUCTION
  2            No matter how often Medtronic, Inc. (“Medtronic”) repeats its mantra, this case
  3 is not about misappropriation of confidential information. Notably, even though it
  4 uses the phrase “confidential information” 14 times in its brief, Medtronic does not
  5 state that Plaintiffs Dexcom, Inc. (“Dexcom”) and Charles Boykin (“Boykin”)
  6 (collectively “Plaintiffs”) misappropriated its confidential information. Despite the
  7 obfuscation, this case is simple: Medtronic’s restrictive covenants in its employment
  8 agreement with Boykin are unenforceable in California – even if they are enforceable
  9 elsewhere. Plaintiffs simply seek declarations to that effect. As California citizens,
10 Plaintiffs properly filed suit here. Medtronic asks this Court to ignore the fundamental
11 rights of Californians to dismiss the Complaint via a myriad of procedural challenges.
12             Specifically, Medtronic argues this Court should dismiss the matter because a
13 forum selection clause requires litigation in Minnesota, where Medtronic already filed
14 suit. (“Minnesota State Action”). Dkt. 16-1, p.8. It further argues the Court should
15 not exercise jurisdiction because “Plaintiffs’ claims are entirely duplicative of the
16 claims and issues” in that earlier action. Id. Medtronic also argues that the unfair
17 competition (“UCL”) claim seeks to enjoin extraterritorial pre-litigation and litigation
18 conduct that is immunized from liability under the Noerr-Pennington doctrine,
19 California’s litigation privilege, and California’s anti-SLAPP statute. Id. Finally, it
20 argues the case should be dismissed because Plaintiffs failed to join MiniMed
21 Distribution Corp., (“MiniMed”), a Medtronic subsidiary. Id. The Court should reject
22 these arguments and enforce the substantive law of California instead of narrowly
23 tailored procedural challenges with limited applicability to the facts of this case.
24             First, Dexcom is not a signatory to the contract with the forum selection clause,
25 and Medtronic does not make any argument or submit any facts why it should be bound
26 by the clause. The clause is also not enforceable against Boykin because it was a result
27 of fraud or overreaching, and because enforcing it would contravene California’s
28 public policy against non-compete agreements.              Even assuming the clause was
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  1 enforceable against Boykin, because Dexcom is clearly not bound by it, the Court
  2 should not enforce the clause because that would result in duplicative litigation.
  3            Second, the mere fact that Medtronic filed suit days before Dexcom and Boykin
  4 does not entitle Medtronic to dismissal in the Ninth Circuit. Contrary to Medtronic’s
  5 arguments, the Minnesota State Action is not duplicative of this suit. Even if it were,
  6 this Court cannot decline jurisdiction under Brillhart v. Excess Ins. Co. of America,
  7 316 U.S. 491 (1942) (“Brillhart”) because Plaintiffs seek more than declaratory relief.
  8 The court also cannot dismiss or stay the UCL claim under Colorado River Water
  9 Cons. Dist. v. US, 424 U.S. 800 (1976) (“Colorado River”), because that would result
10 in piecemeal litigation, and because this suit is not parallel to the Minnesota case.
11             Third, Medtronic’s argument that the UCL cause of action should be dismissed
12 because it is based on activity protected under the Noerr-Pennington doctrine and
13 California’s litigation privilege under Civil Code section 47, subdivision (b) overlooks
14 the relief that Plaintiffs seek—i.e. Plaintiffs’ harm stems from the unenforceable
15 provisions in Boykin’s agreement, not Medtronic’s litigation. Specifically, not a
16 single cause of action in the Complaint relies upon protected pre-litigation or litigation
17 statements or conduct.         Rather, it relies on Medtronic’s conduct of using and
18 attempting to enforce its unlawful covenants against California residents to stifle
19 competition—the exact act that Business and Professions Code section 16600
20 prohibits. Further, the Complaint does not rely on extraterritorial conduct since
21 Medtronic engaged in conduct that caused California residents injury in California.
22 Moreover, the cause of action cannot be stricken under Civil Code section 425.16
23 because it does not rely on protected conduct. And even if it did, Plaintiffs have a
24 reasonable probability of prevailing on the merits of the claim because California has
25 zero tolerance and prohibits all contracts that restrain employee mobility.
26             Fourth, Medtronic’s conclusory argument that the case should be dismissed
27 because Plaintiffs failed to join a necessary and indispensable party ignores the proper
28 analysis propagated by the Ninth Circuit.          Contrary to what Medtronic argues,
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  1 MiniMed is not a necessary party because it is not a signatory to the contract Medtronic
  2 entered into with Boykin. But even if it were, it is not “indispensable” because, among
  3 other reasons, as a downstream subsidiary of Medtronic with 100% identical interests,
  4 it would not suffer any prejudice since Medtronic would adequately represent it.
  5            For each of these reasons, the Court should deny Medtronic’s motion.
  6 II. RELEVANT FACTUAL BACKGROUND
  7            Despite working for Medtronic since at least December 2014, Boykin signed
  8 the employment agreement at issue (“Employee Agreement”) on March 4, 2020. Dkt.
  9 1, ¶12. The agreement contained two provisions: (a) a non-compete provision that
10 barred Boykin from working for any competitor of Medtronic for a period of two years
11 following the end of his employment with Medtronic; and (2) a non-solicitation
12 agreement that also barred Boykin from soliciting anyone to terminate employment
13 with Medtronic for a period of 1 year after Boykin left Medtronic. Id., ¶16. Effective
14 January 2, 2021, Medtronic terminated Boykin’s employment. Id., ¶18.
15             In February 2021, Boykin started working at Dexcom in California. Id., ¶20.
16 Between April 2021 and July 2021, Medtronic wrote to Plaintiffs impugning them of
17 misuse of confidential information and seeking to enforce the unlawful provisions.
18 Id., ¶¶21-29. Plaintiffs reassured Medtronic that Boykin had not disclosed and
19 Dexcom had not received or used Medtronic’s confidential information. Id., ¶30.
20 Plaintiffs clarified that the non-compete and non-solicitation provisions Medtronic
21 sought to enforce were void and unenforceable in California. Id., ¶30. Unabashed,
22 Medtronic and MiniMed sued Plaintiffs in the Minnesota State Action for breach of
23 contract alleging that working for Dexcom in California violated the non-compete
24 provision under Minnesota law. Id. They also accused Dexcom of tortuously
25 interfering with the Employee Agreement between Boykin and Medtronic. Id., ¶30.
26 The Minnesota court issued a Temporary Restraining Order, which is under
27 submission and subject to a dissolution. Dkt. 5-2, ¶10.
28             In an effort to ascertain their rights, on September 24, 2021, Plaintiffs filed this
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  1 action asserting causes of action for declaratory relief under federal and state law, and
  2 asserting a cause of action for unfair competition under Business and Professions Code
  3 section 17200, et seq. Dkt. 1. In addition to seeking injunctive relief, Plaintiffs seek
  4 declarations that the non-compete and non-solicitation clauses in the Employee
  5 Agreement are void and unenforceable under California law and public policy. Id. In
  6 response to the complaint, Medtronic filed the current motion to dismiss. Dkt. 16.
  7 III. ARGUMENT
  8            A.       The Court Should Disregard the Forum Selection Clause Because
  9                     California, Not Minnesota, Is the Proper Forum for This Dispute
10             This Court is the appropriate venue for this action under 28 U.S.C. section 1391
11 (a)(1) because Medtronic is subject to personal jurisdiction in this district. The Court
12 is also the proper venue because a substantial part of the events or omissions on which
13 Plaintiffs base their claims occurred in this district.           28 U.S.C. 1391 (a)(2).
14 Notwithstanding, Medtronic moves to dismiss the matter in its entirety based on its
15 claims that Minnesota is the proper forum because of a forum selection clause
16 contained in the Employee Agreement between Medtronic and Boykin.
17             While forum selection clauses are prima facie valid, a forum selection clause
18 may be unreasonable and unenforceable if: (a) “the inclusion of the clause in the
19 agreement was the product of fraud or overreaching”; (b) “the party wishing to
20 repudiate the clause would effectively be deprived of his day in court were the clause
21 enforced”; or (c) “enforcement would contravene a strong public policy of the forum
22 in which suit is brought.” Murphy v. Schneider Nat’l, Inc., 362 F.3d 1133, 1140 (9th
23 Cir. 2004).              For employment agreements, federal courts consider the power
24 differentials between the employer and employee, the educational background of the
25 party challenging the clause, their business expertise, as well as the financial ability to
26 bear the costs and inconvenience of litigating the dispute in the selected forum.
27 Monastiero v. appMobi, Inc., 15 F. Supp. 3d 956, 960 (N.D. Cal. 2014); Murphy, 362
28 F.3d at 1140–41. The forum selection clause in the Employee Agreement between
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  1 Medtronic and Boykin should not be enforced for the following five reasons.
  2                     1.        Dexcom Cannot Be Bound to the Forum Selection Clause
  3                               Because it is Neither a Beneficiary Nor an Entity Closely
  4                               Related to the Contractual Relationship
  5            Dexcom is not a party to the Employee Agreement with the forum selection
  6 clause. 1 As a non-party, the forum selection clause may only be enforced against
  7 Dexcom if (1) Dexcom is a third-party beneficiary 2 or (2) Dexcom is “closely related
  8 to the contractual relationship.” 3 Neither circumstance applies. Dexcom is not a third-
  9 party beneficiary under the contract and received no benefit from the contract,
10 incidentally or explicitly. Dexcom is also not closely related to the contractual
11 relationship between Medtronic and Boykin because it is not “part of the larger
12 contractual relationship” between Medtronic and Boykin. See Holland Am. Line, Inc.
13 v. N. Am., Inc., 485 F.3d 450, 456 (9th Cir. 2007).
14             Yet, Medtronic completely glosses over these facts in arguing generally that the
15 forum selection clause is enforceable. For this alone, the Court should decline to
16 enforce the forum selection clause. Martinez-Serrano v. INS, 94 F.3d 1256, 1259-60
17 (9th Cir. 1996) (issues not supported by argument in the opening brief are deemed
18 abandoned); Thomas v. Colvin, No. CV 15-01451-RAO, 2016 WL 1733418, at *4, n.
19 2 (C.D. Cal. Apr. 29, 2016) (same). Medtronic also ignores that Dexcom challenged
20 jurisdiction in Minnesota. Because Medtronic does not explain how the forum
21 selection clause applies to Dexcom, a non-party, and yet it seeks to bind Dexcom to
22 that contractual forum selection clause, the Court should end its inquiry here.
                2.     The Court Should Disregard the Forum Selection Clause with
23
                       Regard to Boykin, Because Enforcing It Would Contravene
24                     California’s Strong Public Policy
25             While forum selection clauses are presumptively valid, “[a] contractual choice-
26
27    1
          Dexcom specifically challenged jurisdiction in the Minnesota action.
      2
28        Nguyen v. Barnes & Noble, Inc., 763 F.3d 1171, 1180 (9th Cir. 2014).
      3
          Manetti-Farrow, Inc. v. Gucci Am., Inc., 858 F.2d 509, 514, n.5 (9th Cir. 1988)
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  1 of-forum clause should be held unenforceable if enforcement would contravene a
  2 strong public policy of the forum in which suit is brought, whether declared by statute
  3 or by judicial decision.” M/S Bremen v. Zapata Off-Shore Co., 407 U.S. 1, 15 (1972);
  4 Gemini Techs., Inc. v. Smith & Wesson Corp., 931 F.3d 911, 916 (9th Cir. 2019).
  5            Here, the forum selection clause contravenes California’s strong public policy
  6 under Business and Professions Code section 16600, to wit: “Except as provided in
  7 this chapter, every contract by which anyone is restrained from engaging in a lawful
  8 profession, trade, or business of any kind is to that extent void.” Cal. Bus. & Prof.
  9 Code § 16600 (emphasis added). Since 1872, California has held steadfast in its policy
10 that employees must have unencumbered ability to work where they please after
11 leaving their former employment. Campbell v. Bd. of Trustees of Leland Stanford
12 Junior Univ., 817 F.2d 499, 502 (9th Cir. 1987). Section 16600 encapsulates that
13 policy by rendering “every contract” that purports to restrain a California resident from
14 engaging in their lawful profession, trade, or business void. Cal. Bus. & Prof. Code §
15 16600. Thus, in California, the interests of the employee in free mobility override any
16 competing interests of the former employer particularly where neither the employee
17 nor the new employer committed any unlawful act related to the changed employment.
18 Application Grp., Inc. v. Hunter Grp., Inc., 61 Cal. App. 4th 881, 900 (1998).
19             Minnesota on the other hand does not have any comparable public policy that
20 leans heavily in favor of employee mobility. While Minnesota courts do not favor
21 noncompetition agreements, they often enforce such covenants to protect business
22 interests such as goodwill, trade secrets, and confidential information. Medtronic, Inc.
23 v. Advanced Bionics Corp., 630 N.W.2d 438, 454 (Minn. Ct. App. 2001). California
24 on the other hand steadfastly adheres to its policy against non-compete and non-
25 solicitation agreements. Hill Med. Corp. v. Wycoff, 86 Cal. App. 4th 895, 900-01
26 (2001).          Because enforcement of the forum selection clause would contravene
27 California’s public policy, the Court should reject Medtronic’s requests to enforce the
28 clause against the only party Medtronic can claim the clause can be enforced – Boykin.
                                                  6
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  1            Furthermore, Medtronic’s attempt to circumvent California’s strong public
  2 policy by seeking to enforce an unfavorable choice of law provision further militates
  3 against enforcing the forum selection clause.            To prevent employers from
  4 circumventing Business and Professions Code section 16600 though use of choice of
  5 law provisions in employment contracts that avoid California law, California enacted
  6 an anti-waiver statute, effective January 1, 2017, that renders voidable, at the
  7 employee’s choice a contract that requires the employee to adjudicate claims that arise
  8 in California or deprives the employee of the substantive protection of California law
  9 for any contract entered it or modified after January 1, 2017. California Labor Code
10 § 925. And that is exactly the kind of contract Medtronic purports to bind Boykin to.
11             Notably, while Medtronic does not substantively dispute that California has a
12 materially greater interest in ensuring that its businesses and employees are protected
13 from out-of-state actors’ anticompetitive conduct (Application Grp., Inc. v. Hunter
14 Grp., Inc., 61 Cal. App. 4th 881, 902 (1998)), Medtronic openly advocates for
15 application of the choice of law provision in favor of Minnesota. See Dkt. 16-1, p. 10,
16 lns. 19-24. Medtronic also openly advocates that the Court should address the matter
17 without regard to the choice of law provision. Dkt. 16-1, p. 15 (citing Kiland v. Bos.
18 Sci. Corp., No. C 10-4105 SBA, 2011 WL 1261130, at *4 (N.D. Cal. Apr. 1, 2011)).
19 But the passage Medtronic relies on for this proposition is dicta which is not binding.
20 See In re Magnacom Wireless, LLC, 503 F.3d 984, 993-94 (9th Cir.2007) (“In our
21 circuit, statements made in passing, without analysis, are not binding precedent.”).
22 Moreover, that approach (ignoring the choice of law clause) would result in violating
23 California’s public policy. “If California has a materially greater interest than the
24 chosen state, the choice of law shall not be enforced, for the obvious reason that in
25 such circumstance we will decline to enforce a law contrary to this state’s fundamental
26 policy.” Nedlloyd Lines B.V. v. Superior Ct., 3 Cal. 4th 459, 466, 834 P.2d 1148, 1152
27 (1992); Scott v. Snelling & Snelling, Inc., 732 F. Supp. 1034, 1039 (N.D. Cal. 1990)
28 (same). Because Medtronic uses the forum selection clause and advocates for a choice
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  1 of law provision that in letter and spirit violates Labor Code section 925 and section
  2 16600, and yet California courts “are not bound to enforce a contractual conflict of
  3 law provision” that is contrary to California’s policy (Application Grp., 61 Cal. App.
 4 4th at 902), the Court should not enforce the forum selection clause.
                  3.   The Court Should Disregard the Forum Selection Clause
 5
                       Because It was a Product of Fraud or Overreaching
 6
          With regard to Boykin, the Complaint contains allegations that Boykin’s assent
 7
   to restrictive covenants was a product of fraud or overreaching. Dkt. 1, ¶12. Plaintiffs
 8
   also offered evidence to show that Boykin’s assent to the terms was obtained through
 9
   fraud or overreaching. Dkt 5-3, ¶¶5-6; Dkt 13-4, ¶¶16-17:
10
       “In an approximately two-minute encounter on March 4, 2020, my boss,
11     Michael Cox, walked into my office and told me I needed to sign Medtronic’s
       Employee Agreement in order to receive the $15,000 retention bonus. Cox
12
       described the document as a ‘standard employment agreement’ and did not
13     mention that it contained a non-compete or a Minnesota choice-or-law
       provision. Relying on Cox’s representations, I recall seeing the title ‘Employee
14
       Agreement’ but I did not read the text of the Employee Agreement. I did not
15     consult with legal counsel, and signed it then and there in front of Cox. I
       believed the Employee Agreement only included standard confidentiality
16
       obligations. The only time I recall hearing any discussions of non-compete
17     agreements at Medtronic was in relation to sales representatives.” Dkt 13-4,
       ¶¶16-17.
18
19            Notably, Boykin was not able to fully review the Employee Agreement before
20 signing it, and he certainly did not have a chance to share the agreement with an
21 attorney before he signed it. See id. Medtronic, intent on tying him to unfair terms
22 including the forum selection clause, rushed him to sign the agreement, advising that
23 it was simply how he was to obtain the “stay bonus.”
24            But the inclusion of the forum selection clause in the Employee Agreement was
25 fundamentally improper and demonstrates Medtronic’s fraud and overreaching.
26 Specifically, throughout his employment at Medtronic, Boykin lived and worked in
27 Texas, not Minnesota, with occasional work in California. Dkt. 1, ¶2; Dkt. 13-4, ¶¶10,
28 14. Medtronic, his employer, knew this fact. But yet, calculatedly intent on binding
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  1 him to a forum where he could not easily travel to litigate a dispute initiated by a well-
  2 funded multinational corporation, Medtronic conveniently omitted to explain to
  3 Boykin this critical term. Instead, intent on making sure he glossed over the terms,
  4 Medtronic demanded in a two-minute meeting on March 4, 2020, that he sign the
  5 “standard employment agreement” as a precondition to getting his “stay bonus.” Dkt.
  6 13-4, ¶16. In light of this showing, the Court cannot enforce the forum selection clause
  7 because it is fundamentally unfair. Richards v. Lloyd’s of London, 135 F.3d 1289,
  8 1297 (9th Cir. 1998) (terms unenforceable if the “product of fraud or coercion.”).
  9            Medtronic falsely argues that Plaintiffs make no allegations of fraud of
10 overreaching (Dkt. 16-1, pp. 17-18), and completely glosses over the record and
11 ignores applicable law. See, e.g., Dkt. 1, ¶12; Dkt. 5-3, ¶¶5-6; Dkt 13-4, ¶¶16-17. For
12 a motion to dismiss based on the enforcement of a forum selection clause, such as here,
13 courts treat it as a motion to dismiss for improper venue under Rule 12(b)(3) of the
14 Federal Rules of Civil Procedure. Argueta v. Banco Mexicano, S.A., 87 F.3d 320, 324
15 (9th Cir. 1996). And “in the context of a Rule 12(b)(3) motion based upon a forum
16 selection clause, the trial court must draw all reasonable inferences in favor of the non-
17 moving party and resolve all factual conflicts in favor of the non-moving party[.]”
18 Murphy v. Schneider Nat’l, Inc., 362 F.3d 1133, 1138 (9th Cir. 2004) (emphasis
19 added). Accordingly, this Court is required to credit Boykin’s version of the facts and
20 draw all reasonable inferences from Plaintiffs’ allegations in Boykin’s favor. At a
21 minimum, the Court is required to conduct an evidentiary hearing if disputed facts
22 exist. Petersen v. Boeing Co., 715 F.3d 276, 283 (9th Cir. 2013) (“The district court
23 therefore abused its discretion by granting [movant’s] motion to dismiss without
24 convening an evidentiary hearing.”) Here, crediting Boykin’s allegations and
25 evidence, the Court must find in favor of Boykin on this factor.
26                      4.        Even If the Forum Selection Clause Were Enforceable Against
27                                Boykin, Federal Policy Concerns Deem it Unenforceable
28             Medtronic cannot deny that it does not make any argument supporting
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  1 enforcement of the forum selection clause against Dexcom. Because it cannot make
  2 arguments for the first time on reply, 4 the Court should find in favor of Plaintiffs on
  3 this. Since Medtronic fails to justify enforcement of the selection clause as to Dexcom,
  4 the Court should dismiss the forum selection clause entirely. Any other result, such
  5 as denying enforcement of the clause as to Dexcom, but granting it as to Boykin, would
  6 be unwarranted splitting of the matter which goes against “the federal policy in favor
  7 of ‘efficient resolution of controversies.’” In re TFT-LCD (Flat Panel) Antitrust Litig.,
  8 No. C 13-3349 SI, 2014 WL 1477748, at *2 (N.D. Cal. Apr. 14, 2014). Requiring
  9 Dexcom to continue litigating issues in this forum, while Boykin litigates the same
10 issues in Minnesota is “plainly contrary to the policy of the federal judiciary of
11 promoting the consistent and complete adjudication of disputes.” Frigate Ltd. v.
12 Damia, No. C 06-04734 CRB, 2007 WL 127996, at *3 (N.D. Cal. Jan. 12, 2007). This
13 is the quintessential “unusual case” where a forum selection clause should not prevail.
14 Atl. Marine Const. Co. v. U.S. Dist. Ct. for W. Dist. of Texas, 571 U.S. 49, 66 (2013).
15                     5.        Medtronic Does Not Identify an Adequate Alternative Forum
16                               and the Private and Public Factors Support this Court
17                               Retaining Jurisdiction Over the Matter
18            Medtronic does not address how other factors strongly favor this Court retaining
19 jurisdiction over this matter. Rightly so perhaps because it is clear that when these
20 factors are considered, they favor this Court’s retention of jurisdiction. Instead,
21 Medtronic puts the cart before the horse, arguing that Atl. Marine Const. Co. v. U.S.
22 Dist. Ct. for W. Dist. of Texas, 571 U.S. 49, 63 (2013) instructs that courts adjust their
23 section 1404(a) analysis where there is a valid forum selection clause. Dkt. 161, p. 16.
24 But the forum selection clause here is not valid and is unenforceable as noted above.
25            In the Ninth Circuit, before a court may dismiss the matter based on forum non
26 conveniens, courts analyze whether an adequate forum exists and whether the private
27
28   4
         United States v. Romm, 455 F.3d 990, 997 (9th Cir. 2006)
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  1 and public interest factors favor dismissal. Dole Food Co. v. Watts, 303 F.3d 1104,
  2 1118 (9th Cir. 2002). The private interest factors include: “(1) the residence of the
  3 parties and the witnesses; (2) the forum’s convenience to the litigants; (3) access to
  4 physical evidence and other sources of proof; (4) whether unwilling witnesses can be
  5 compelled to testify; (5) the cost of bringing witnesses to trial; (6) the enforceability
  6 of the judgment; and (7) all other practical problems that make trial of a case easy,
  7 expeditious and inexpensive.” Carijano v. Occidental Petroleum Corp., 643 F.3d
  8 1216, 1229 (9th Cir. 2011) (internal citations omitted). The public interest factors
  9 include: “(1) the local interest in the lawsuit, (2) the court’s familiarity with the
10 governing law, (3) the burden on local courts and juries, (4) congestion in the court,
11 and (5) the costs of resolving a dispute unrelated to a particular forum.” Bos.
12 Telecommunications Grp., Inc. v. Wood, 588 F.3d 1201, 1211 (9th Cir. 2009) (internal
13 quotation marks and citations omitted).
14            Here, no adequate alternative forum exists. “An alternative forum ordinarily
15 exists when defendants are amenable to service of process in the foreign forum.” Dole
16 Food, 303 F.3d at 1118. An alternative forum is adequate if “the other jurisdiction
17 offers a satisfactory remedy.” Carijano v. Occidental Petroleum Corp., 643 F.3d 1216,
18 1225 (9th Cir. 2011). If the alternative forum would not offer a practical remedy for
19 the complained of wrong, the remedy is clearly inadequate. Lueck v. Sundstrand
20 Corp., 236 F.3d 1137, 1144 (9th Cir. 2001). As noted above, because California has
21 a materially greater interest in enforcing Business and Professions Code section 16600,
22 and Minnesota does not have any comparable protections for California employees
23 and employers, Minnesota is not an adequate alternative forum.
24            Further, both the private and public interest factors cut sharply in favor of
25 Plaintiffs. As to the private interest factors, Plaintiffs are California residents and
26 Medtronic, which is registered to do business in California, has an adequate presence
27 here. Dkt. 1, ¶¶1-3. So, California would be convenient to all parties, unlike
28 Minnesota which is inconvenient for Plaintiffs, who are not residents there. Because
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  1 two parties are residents in California, most of the evidence and witnesses are also in
  2 California, and because the issues in this case are predominantly legal, the cost of
  3 bringing witnesses is neutral. Finally, a trial in California would be more efficient and
  4 less expensive for all parties in San Diego where Plaintiffs are residents and where
  5 Medtronic does business. The public interest factors overwhelmingly favor Plaintiffs.
  6 California has a very strong interest in this lawsuit enforcing California laws that have
  7 been validated since 1872. Courts in this district are also substantially familiar with
  8 California Business and Professions Code section 16600. Other public interest factors
  9 lean in favor of Dexcom and Medtronic’s choice of forum or are neutral.
10            B.       None of Medtronic’s Arguments Divest Jurisdiction
11            Medtronic generally argues that the Court should dismiss or stay this matter and
12 defer to the Minnesota court because Medtronic filed suit first. Dkt. 16-1, p. 20, lns.
13 9-13. But the “decision whether to exercise jurisdiction over a declaratory judgment
14 action does not turn on which suit was filed first.” Regal Beloit Am., Inc. v. Power
15 Right Indus., LLC, No. EDCV141008PAPLAX, 2014 WL 12603114, at *2 (C.D. Cal.
16 Oct. 6, 2014); see also DeFeo v. Proctor & Gamble Co., 831 F. Supp. 776, 779-80
17 (N.D. Cal. 1993) (“Courts have repeatedly rejected the ‘first-to-file’ rule in light of the
18 policies governing declaratory relief.”). Thus, the mere fact that Medtronic beat
19 Plaintiffs to the courthouse is of no import in this analysis.
20                     1.        Brillhart Abstention Does Not Apply Because Plaintiffs Seek
21                               More than Declaratory Relief
22            Medtronic also argues that the Court should decline jurisdiction over the
23 declaratory relief claims under Brillhart. Dkt. 16-1, pp. 20-21. But Medtronic’s
24 reliance on the Brillhart/Wilton abstention doctrine is misplaced. When “the suit seeks
25 more than merely declaratory relief, the Wilton abstention doctrine does not apply.”
26 Broom v. Interact Commc’ns, Inc., No. 20-CV-2182 W (AGS), 2021 WL 778619, at
27 *2 (S.D. Cal. Mar. 1, 2021). The Ninth Circuit has noted that “[s]o long as the suit
28 seeks more than merely declaratory relief, … the entire action should be analyzed
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  1 under the Colorado River framework.” Seneca Ins. Co., Inc. v. Strange Land, Inc., 862
  2 F.3d 835, 840 (9th Cir. 2017); see, e.g., Am. Bankers Mgmt. Co., Inc. v. Heryford, 885
  3 F.3d 629, 633 (9th Cir. 2018) (“In addition to declaratory relief, however, American
  4 Bankers seeks injunctive relief that is independent of, but related to, the requested
  5 declaratory relief. Brillhart does not apply in such circumstances.”).
  6            Here, Plaintiffs assert a UCL cause of action, which through restitution, permits
  7 a court to make orders necessary to restore money or property a defendant acquires by
  8 wrongful conduct. Dkt. 1, ¶¶53-60. Plaintiffs also seek injunctive relief, as part of the
  9 UCL cause of action. Id., p. 14. Plaintiffs UCL claim can survive even in the absence
10 of the declaratory relief action because the mere inclusion of unlawful provisions
11 violates California’s unfair competition law. Couch v. Morgan Stanley, 2015 WL
12 4716297, at *20-21 (E.D. Cal. 2015). Because Medtronic fails to acknowledge that
13 Plaintiffs seek more than declaratory relief, and completely ignores prevailing law, the
14 Court should disregard Medtronic’s dismissal arguments under Brillhart.
15             Medtronic’s argument that other courts such as in DeFeo v. Procter & Gamble
16 Co., 831 F. Supp. 776 (N.D. Cal. 1993) and Google, Inc. v. Microsoft Corp., 415 F.
17 Supp. 2d 1018 (N.D. Cal. 2005) dismissed actions for declaratory relief do not compel
18 a different result because the plaintiffs there asserted a single cause of action for
19 declaratory relief, unlike here. Because Plaintiffs here seek more than declaratory
20 relief, the Ninth Circuit instructs that a Brillhart analysis is unwarranted.
21                      2.        Colorado River Doctrine Does Not Apply to the UCL Claim
22             Medtronic rightly does not seek to stay or dismiss the declaratory relief causes
23 of action because the test under Colorado River does not apply where the Declaratory
24 Judgment Act is involved. Chamberlain v. Allstate Ins. Co., 931 F.2d 1361, 1366 (9th
25 Cir. 1991). Rather, Medtronic seeks to apply the doctrine only to the UCL cause of
26 action. See Dkt. 16-1, pp. 21-22. But Medtronic fails to show why the Court should
27 apply Colorado River to this matter.
28             “Under Colorado River, considerations of ‘wise judicial administration, giving
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  1 regard to conservation of judicial resources and comprehensive disposition of
  2 litigation,’ may justify a decision by the district court to stay federal proceedings
  3 pending the resolution of concurrent state court proceedings involving the same
  4 matter[.]” Holder v. Holder, 305 F.3d 854, 867 (9th Cir.2002) (citations omitted). But
  5 Colorado River is not the norm; the doctrine is invoked only in exceptional
  6 circumstances. Colorado River, 424 U.S. 817. “Thus the party moving for a stay
  7 under Colorado River bears a heavy burden in justifying such an order.” Ally Bank v.
  8 Castle, No. 11-CV-896 YGR, 2012 WL 3627631, at *3 (N.D. Cal. Aug. 20, 2012)
  9            In applying Colorado River, courts considers factors including: (1) whether the
10 state court first assumed jurisdiction over the property or the res; (2) inconvenience of
11 the federal forum; (3) the desirability of avoiding piecemeal litigation; (4) the order in
12 which jurisdiction was obtained by the concurrent forums; (5) whether federal or state
13 law provides the rule of decision on the merits; (6) whether the state court proceedings
14 are inadequate to protect the federal litigant’s rights; (7) whether exercising
15 jurisdiction would promote forum shopping, and (8) whether the parallel state court
16 proceeding will resolve the issues between the parties. Holder, 305 F.3d at 870. Here,
17 all applicable factors lean against applying Colorado River to the UCL cause of action.
18             First, the federal forum is convenient for all parties, Plaintiffs who are citizens
19 in California, and Medtronic which is registered to do business and subject to process
20 here in California.            On the other hand, the state court forum in Minnesota is
21 inconvenient for Plaintiffs who are not residents and have no presence in Minnesota.
22             Second, applying Colorado River to only one cause of action, as Medtronic
23 advocates (Dkt. 16-1, pp. 21-22), would result in the piecemeal litigation that the
24 Declaratory Judgment Act and Colorado River aim to avoid. Colorado River, 424
25 U.S. at 818 (1976). The Court need not apply Colorado River for this fact alone.
26             Third, there is no ongoing state proceeding that could provide Plaintiffs’ relief
27 on their declaratory relief claims. There is similarly no ongoing state proceeding that
28 will resolve Plaintiffs’ relief on their UCL claim. The Minnesota State Action involves
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  1 completely different causes of action asserted under different state laws. Thus, the
  2 Minnesota State Action is inadequate to protect Plaintiffs’ rights.
  3            Fourth, exercising jurisdiction over this matter does not promote forum
  4 shopping. The fact that Plaintiffs are residents of California and filed suit in California
  5 to obtain a declaration of their rights under California law shows that they are not
  6 forum shopping. The forum clearly has a substantive connection to the case. See
  7 Hendricks v. StarKist Co., No. 13-CV-729 YGR, 2014 WL 1245880, at *3 (N.D. Cal.
  8 Mar. 25, 2014) (“The fact that a plaintiff lives in the transferor district and purchased
  9 the product at issue there suggests that plaintiff is not forum shopping.”).
10             Finally, this action and the Minnesota State Action are not “parallel” under any
11 reasonable interpretation. None of the causes of action Plaintiffs assert are at issue in
12 the Minnesota State Action. Whereas Plaintiffs seek declaratory relief, injunctive
13 relief, and assert a UCL cause of action based on California law under section 16600
14 here, in the Minnesota State Action, Medtronic asserts only causes of action for breach
15 of contract, fraud, and intentional interference with contractual relations under
16 Minnesota law. Thus, a resolution of Medtronic’s claims would not resolve the
17 primary questions Plaintiffs present, i.e., whether Medtronic’s use and enforcement of
18 unlawful clauses is permissible under California law and whether it violates the UCL.
19             Because there is no concurrent state proceeding that “will resolve” Plaintiffs’
20 declaratory relief and unfair competition claims (Holder, 305 F.3d at 870), the
21 Colorado River doctrine does not apply. See Intel Corp. v. Advanced Micro Devices,
22 Inc., 12 F.3d 908, 913 (9th Cir. 1993). For each of the foregoing reasons, the Court
23 should carry out its “virtually unflagging obligation” to exercise jurisdiction and grant
24 relief on Plaintiffs’ UCL claim rather than staying the claim. Vasquez v. Rackauckas,
25 734 F.3d 1025, 1040, 1041 (9th Cir. 2013) (quoting Gilbertson v. Albright, 381 F.3d
26 965, 982 n.17 (9th Cir. 2004) (en banc)); see also Colorado River, 424 U.S. at 817.
27 / / /
28
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  1            C.       The UCL Claim Survives Because It is Not Based On Protected Pre-
  2                     Litigation or Litigation Activities.
  3                     1.        The UCL Claim Survives Under the Noerr-Pennington
  4                               Doctrine and the Litigation Privilege Because It Is Not Based
  5                               on Protected Activity
  6            Medtronic argues that this case should be dismissed pursuant to the Noerr-
  7 Pennington doctrine and California’s litigation privilege under Civil Code section
  8 47(b) which insulate Medtronic’s conduct. Dkt 16-1, pp. 22-24. But Medtronic paints
  9 with far too broad a brush. To start, Medtronic assumes that Plaintiffs’ UCL claim is
10 premised on legitimate pre-petitioning and petitioning activity that is protected under
11 the Noerr-Pennington doctrine and California’s litigation privilege. Not so. Plaintiffs’
12 UCL claim is not based on legitimate protected activity. See, e.g., Dkt. 1, ¶¶53-60.
13             As numerous courts have stated, the reach of the Noerr-Pennington doctrine is
14 not so extensive as to authorize all manner of conduct which private parties may
15 engage in to achieve anticompetitive aims.                  See, e.g., Rickards v. Canine Eye
16 Registration Found., 783 F.2d 1329, 1334 (9th Cir. 1986) (“Immunity is not afforded
17 to those who resort to sham or unfounded litigation solely for anticompetitive
18 purposes.”).               Similarly, the litigation privilege applies only to protected
19 communications made when litigation is imminent. Edwards v. Centex Real Est.
20 Corp., 53 Cal. App. 4th 15, 35 (1997). Here, the gravamen of the UCL claim is that
21 the non-competition and non-solicitation clauses are illegal and unenforceable in
22 California. The cause of action is based primarily on Medtronic’s conduct of inserting
23 such clauses in its Employee Agreement. See Dkt. 1, ¶¶54-59. This conduct by
24 Medtronic occurred long before Medtronic started engaging in any allegedly protected
25 efforts to enforce the unlawful provisions through its pre-litigation correspondence,
26 and long before its subsequent suit against Dexcom and Boykin in Minnesota state
27 court. As such, the conduct does not fit within the conduct insulated under the Noerr-
28 Pennington doctrine and the litigation privilege.
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  1                     2.        The UCL Claim Survives Because It is Not Based On
  2                               Extraterritorial Conduct by Medtronic.
  3            Medtronic also argues that the UCL claim should be dismissed “to the extent it
  4 is based on the mere existence of the non-compete provision” in the agreement,
  5 because that agreement was entered into outside California. Dkt. 16-1, pp. 24-25. But
  6 this assumptive argument ignores the record. Whereas Medtronic required Boykin to
  7 sign the Employment Agreement with the unlawful provisions while he was not a
  8 resident of California, Medtronic engaged in some of the accused conduct against a
  9 Dexcom and Boykin in California. The mere fact that Plaintiffs are California
10 residents now and would like a determination of their rights because they are affected
11 by Medtronic’s conduct makes the UCL applicable to them. Medtronic points to no
12 authority that precludes residents of California from asserting a UCL claim based on
13 a foreign entity’s use and attempted enforcement of unlawful non-compete clauses
14 against them. Absent such a showing, the Court should reject Medtronic’s arguments.
15             None of Medtronic’s authorities compels a different conclusion. All the cases
16 simply stand for the unremarkable proposition that the UCL can only be utilized by
17 persons in California and those affected by conduct in California. See Dkt. 16-1, p. 24
18 (citing Aghaji v. Bank of Am., N.A., 247 Cal. App. 4th 1110, 1120 (2016) and other
19 cases) All of the cases involved conduct occurring outside California or plaintiffs
20 purporting to assert on behalf of non-California individuals claims not arising in
21 California. None of the authorities apply here where two California residents are suing
22 Medtronic for violations of California law through its unlawful use and attempted
23 enforcement of unlawful provisions in restrain of their trade, professions, or business.
24                      3.        The UCL Claim Survives Under the Anti-SLAPP Statute
25                                Because It is Not based on Protected Activity and Plaintiffs
26                                Have a Reasonable Probability of Prevailing on the Claim.
27             To determine whether a cause of action should be stricken under the anti-
28 SLAPP statute, section 425.16 establishes a two-part test. Only a cause of action that
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  1 satisfies both parts of the anti-SLAPP statute—i.e., that arises from protected speech
  2 or petitioning and lacks even minimal merit—is a SLAPP, subject to being stricken.
  3 L.A. Taxi Coop., Inc. v. The Indep. Taxi Owners Assn. of Los Angeles, 239 Cal. App.
  4 4th 918, 925–26 (2015).
  5                               a.   The Challenged Conduct Is Not Protected Under 425.16
  6            Section 425.16 (b) establishes a two-step process for resolving a special motion
  7 to strike. Simpson Strong-Tie Co., Inc. v. Gore, 49 Cal.4th 12, 21 (2010). First, the
  8 defendant must make a prima facie showing that a plaintiff’s cause of action arises
  9 from an act by the defendant in furtherance of the defendant’s right of petition or free
10 speech in connection with a public issue. Cal. Civ. Proc. Code § 425.16, subd. (b)(1).
11 If a defendant meets this threshold showing, the cause of action shall be stricken unless
12 the plaintiff can establish a probability of prevailing on the claim. Id.
13             As noted above, the challenged conduct is primarily based on Medtronic’s
14 conduct of inserting unlawful provisions in its Employee Agreements – conduct that
15 occurred long before Medtronic commenced any prelitigation or litigation activities.
16 But for conclusory assertions, Medtronic does not show that this conduct arises from
17 its acts in furtherance of its rights to petition or speech. But for attempts to broadly
18 paint Plaintiffs’ claims as seeking to stop the ongoing litigation in Minnesota,
19 Medtronic also does not identify any allegations in Plaintiffs’ Complaint that illustrate
20 that any of the accused conduct is protected activity under the anti-SLAPP statute.
21             Because Medtronic fails in its threshold showing, the Court need analyze this
22 further. Rouse v. L. Offs. of Rory Clark, 465 F. Supp. 2d 1031, 1038 (S.D. Cal. 2006)
23                                b.   Plaintiffs Have a Reasonable Probability of Prevailing
24             But even if the Court were to deem Medtronic’s showing adequate, the Court
25 should rule in Plaintiffs’ favor because Plaintiffs can meet the second prong of the
26 anti-SLAPP analysis. For this prong, Dexcom and Boykin need only show that they
27 have a “reasonable probability” of prevailing on their UCL claim. Davis v. Elec. Arts
28 Inc., 775 F.3d 1172, 1177 (9th Cir. 2015). In the anti-SLAPP context, “reasonable
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  1 probability” has a special meaning and requires only a “‘minimum level of legal
  2 sufficiency and triability.’” Mindys Cosms., Inc. v. Dakar, 611 F.3d 590, 598 (9th Cir.
  3 2010) (quoting Linder v. Thrifty Oil Co., 23 Cal.4th 429, 438 n. 5 (2000)).
  4            Plaintiffs can certainly meet the “minimum level of legal sufficiency and
  5 triability” on their UCL claim that using and enforcing Medtronic’s restrictive
  6 covenants against California employees and their employers violates Business and
  7 Professions Code section 17200, et seq. The heart of the claim is that the restrictive
  8 covenants contained in Medtronic’s Employee Agreement are unenforceable against
  9 Boykin and Dexcom, a non-signatory to the agreement who is not subject to Minnesota
10 jurisdiction.             Plaintiffs will prevail on the claim because California law
11 overwhelmingly supports their position that such provisions, no matter how craftily
12 worded, are unenforceable. Golden v. California Emergency Physicians Med. Grp.,
13 896 F.3d 1018, 1021–22 (9th Cir. 2018). As the California Supreme Court explained:
14             [O]ur courts have consistently affirmed that section 16600 evinces a
15             settled legislative policy in favor of open competition and employee
               mobility. The law protects Californians and ensures that every citizen
16             shall retain the right to pursue any lawful employment and enterprise of
17             their choice. It protects the important legal right of persons to engage in
               businesses and occupations of their choosing.
18
19 Edwards v. Arthur Andersen LLP, 44 Cal. 4th 937, 946, 189 P.3d 285, 291 (2008).
20             The only exceptions to the broad ban on restrictive covenants under section
21 16600, are those listed in sections 16601 through 16603 which do not apply. Fillpoint,
22 LLC v. Maas, 208 Cal. App. 4th 1170, 1177 (2012). 5                 And Medtronic cannot
23 reasonably argue that any of the clauses at issue here satisfy the Ninth Circuit’s
24 alternative “reasonableness standard” because the unlawful non-compete and non-
25 solicitation clauses have the effect of suppressing, not promoting, competition. See
26
   5
     Exceptions for (1) sales of goodwill of a business or disposition of ownership
27 interest in the business entity; (2) dissolution of the partnership or dissociation of the
   partnership  or dissociation of a partner from the partnership; and (3) dissolution or
28 sale of a limited liability company. See Cal. Bus. & Prof. Code §§ 16601-03.
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  1 Ixchel Pharma, LLC v. Biogen, Inc., 9 Cal. 5th 1130, 1159, 470 P.3d 571, 588 (2020).
  2 For these reasons, Plaintiffs have a reasonable probability of prevailing on their claim.
  3            D.       The Court Should Not Dismiss the Complaint Under Rule 12(b)(7)
  4                     Because MiniMed is Neither a Necessary Nor Indispensable Party
  5            Medtronic finally argues that this case should be dismissed under Rule 19 of the
  6 Federal Rules of Civil Procedure because MiniMed is an indispensable party who
  7 cannot be joined without defeating diversity jurisdiction. Dkt. 16-1, pp. 28-30. While
  8 Rule 12(b)(7) allows dismissal for failure to join a necessary and indispensable party,
  9 the party seeking dismissal bears the burden of persuasion on that issue. Makah Indian
10 Tribe v. Verity, 910 F.2d 555, 558 (9th Cir. 1990). Here, Medtronic’s argument for
11 dismissal lacks a basis in law or fact. As Medtronic concedes, MiniMed cannot be
12 added under Rule 19 (a) because adding it will defeat subject matter jurisdiction. See
13 Dkt. 16-1, p. 29, lns. 18-24. Thus, whether dismissal is appropriate turns on if
14 MiniMed is “necessary” under Rule 19(a), and if so, whether it is “indispensable”
15 under Rule 19 (b). Jamul Action Comm. v. Simermeyer, 974 F.3d 984, 996 (9th Cir.
16 2020). But as Medtronic notes, the Rule 19 analysis is “heavily influenced by the facts
17 and circumstances of each case” and is not simply formulaic. Bakia v. Los Angeles
18 Cty. of State of Cal., 687 F.2d 299, 301 (9th Cir. 1982). An analysis of the facts and
19 circumstances here illustrates that MiniMed is neither necessary nor indispensable.
20                      1.        MiniMed Is Not a Necessary Party
21             To determine if the absent party is necessary to the suit under Rule 19(a), the
22 court must undertake a two-part analysis. First, the court determines if in the absence
23 of the party “complete relief cannot be accorded among those already parties.” Fed. R.
24 Civ. P. 19(a)(1)(A). This initial analysis is independent of whether relief is available
25 to the absent party. Makah Indian Tribe, 910 F.2d at 558.               Second, the court
26 determines whether the absent party has a legally protected interest in the suit, and if
27 the party is so situated that disposing of the action in the party’s absence may: (i) as a
28 practical matter impair or impede the person’s ability to protect the interest; or (ii)
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  1 leave an existing party subject to a substantial risk of incurring double, multiple, or
  2 otherwise inconsistent obligations because of the interest. Fed. R. Civ. P. 19(a)(1)(B);
  3 N.D. ex rel. parents acting as guardians ad litem v. Hawaii Dep’t of Educ., 600 F.3d
  4 1104, 1109 (9th Cir. 2010). But the interest at issue must be more than a financial
  5 stake or speculation about a future event. Makah Indian Tribe, 910 F.2d at
  6 558; McLaughlin v. Int’l Ass’n of Machinists, 847 F.2d 620, 621 (9th Cir. 1988).
  7            As the party who bears the burden of persuasion, Medtronic falls far short of
  8 showing how MiniMed is a “necessary” party. But for conclusory assertions, it does
  9 not show how complete relief cannot be accorded among existing parties in its
10 absence. At best, Medtronic argues MiniMed is necessary “because, as Boykin’s
11 employer, MiniMed is a party to the Agreement and has a legally protected interest in
12 its customer goodwill, its confidential information, and Boykin’s post-employment it
13 is a necessary party because Boykin received MiniMed’s confidential information
14 during his employment.” Id, lns.10-11. Finally, it argues that failure to join MiniMed
15 will subject it to multiple inconsistent rulings because MiniMed is a party to the
16 Minnesota State Action, where the court has already made some rulings. Id., lns. 12-
17 17. But none of these conclusory arguments contain any facts that support dismissal.
18             Medtronic’s argument that MiniMed is a necessary party because MiniMed is
19 Boykin’s employer and a party to the Employee Agreement appears to be based on a
20 definition of “Medtronic” under the Employee Agreement. See Dkt. 16-1, p. 11, lns.
21 17-24; Dkt. 1, Ex.1. Employee Agreement, § 1.6. But that conclusory assertion that
22 MiniMed was Boykin’s employer and a party to the Employee Agreement does not
23 render MiniMed a necessary party under Rule 19(a). Notably, the name MiniMed is
24 not mentioned anywhere in the Employee Agreement. See Dkt. 1, Ex.1. Moreover,
25 Medtronic has not offered any evidence showing that MiniMed, a legally separate
26 entity from Medtronic, employed Boykin or that it is MiniMed, a wholly separate
27 entity from Medtronic, that entered into the Employee Agreement with Boykin. To
28 the contrary, Medtronic argues that it hired Boykin, Dkt. 16-1, p. 9, 18-26, and that it
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  1 entered into the Employee Agreement with Boykin. Id., p. 10, lns. 1-7. At best,
  2 Medtronic’s argument is simply that MiniMed is a joint tortfeasor against Boykin and
  3 Dexcom. But a joint tortfeasor is not “necessary” under Rule 19(a). Forti v. Suarez-
  4 Mason, 672 F. Supp. 1531, 1552 (N.D. Cal. 1987). As a joint tortfeasor, Medtronic
  5 offers no reason complete relief cannot be accorded among the remaining parties.
  6            The argument that “MiniMed” is a necessary party because it fits within the
  7 broad definition under the Employee Agreement also goes contrary to the principles
  8 underlying a Rule 19(a) analysis. Under Medtronic’s theory, MiniMed would not be
  9 the only “necessary” party to this dispute.         Other “necessary” parties include
10 potentially hundreds or thousands of entities Medtronic directly or indirectly, wholly
11 or partially owns or controls, or that fit within the broad definition. Certainly, this
12 cannot be what Congress intended under Rule 19 and Rule 12(b)(7). Such a tortured
13 interpretation virtually insulates most multi-jurisdictional entities from suits based on
14 diversity jurisdiction because such entities have interests, wholly or partially in several
15 entities around the world. Medtronic offers no authority for such an interpretation.
16 And none of the cases it cites suggest, even remotely, that an associated entity like a
17 subsidiary, parent, or other affiliate to the entity that signed the contract may be
18 deemed a “necessary” party simply by virtue of that entity being broadly included in
19 an all-encompassing definition in the subject contract. In Dawavendewa v. Salt River
20 Project Agr. Imp. & Power Dist., the plaintiff challenged the defendant’s contract with
21 the Navajo Nation, but failed to join the Navaho Nation, a signatory to the contract.
22 276 F.3d 1150, 1153 (9th Cir. 2002). Similarly, in Lomayaktewa v. Hathaway, the
23 plaintiff brought an action to void the lease between the Hopi Tribe and the Peabody
24 Coal Company but failed to add the Hopi Tribe as a party to the suit. 520 F.2d 1324,
25 1325 (9th Cir. 1975). Clearly, neither case supports the argument that MiniMed, a
26 separate entity, is a necessary party under Rule 19(a).
27             Medtronic’s argument that MiniMed is a necessary party because “Boykin
28 received MiniMed’s confidential information during his employment” also lacks a
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  1 basis in fact or law. Dkt. 16-1, p. 29, lns. 10-11. Notably, while Medtronic refers to
  2 Section II.B of its brief for the factual support for this assertion, that section, aptly
  3 titled “Medtronic Hires Boykin,” only concerns Medtronic (a separate entity from
  4 MiniMed) and Boykin, and at best states, “In order for Boykin to effectively carry out
  5 his responsibilities, Medtronic provided Boykin with confidential and proprietary
  6 information discussed above.” Dkt. 16-1, p. p, lns. 23-25 (emphasis added). Nowhere
  7 does the section refer to Boykin receiving confidential information from MiniMed, a
  8 wholly separate entity from Medtronic. But even if the section disclosed that Boykin
  9 had allegedly received confidential information from MiniMed, Medtronic cites no
10 authority for the proposition that receiving an entity’s confidential information renders
11 the providing entity a necessary party under Rule 19. This is especially so here where
12 none of the causes of action relates to misappropriation of confidential information.
13            Medtronic’s final argument that failure to join MiniMed would subject
14 MiniMed to multiple inconsistent rulings is also conclusory and conflates issues. In
15 the Rule 19 context, “inconsistent obligations” is not the same as “inconsistent
16 adjudications or results.” Cachil Dehe Band of Wintun Indians of the Colusa Indian
17 Cmty. v. California, 547 F.3d 962, 976 (9th Cir. 2008). Inconsistent obligations occur
18 when a party is unable to comply with one order without breaching another court’s
19 order. Id. Thus, the fact that there are two pending proceedings does not automatically
20 mean that MiniMed would be subject to multiple inconsistent obligations. The causes
21 of action here are different and depend on different state laws. See Dkt. 5-6; Dkt. 1.
22 While the suits may involve related matter about enforceability of the non-compete or
23 non-solicitation provisions, this does not translate to “inconsistent obligations”
24 especially since different state laws are involved. Because Medtronic offers nothing
25 more than conclusory argument about inconsistent rulings (not obligations), the Court
26 should decline to consider MiniMed a necessary party under Rule 19(a).
27                     2.        MiniMed Is Not an Indispensable Party
28            Because Medtronic does not show that MiniMed is a necessary party, the Court
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  1 need not analyze whether it is indispensable. Est. of Mendez v. City of Ceres, 390 F.
  2 Supp. 3d 1189, 1199 (E.D. Cal. 2019). But even assuming the Court finds that
  3 MiniMed is necessary, dismissal is not warranted. If a party is necessary, the court
  4 must then determine whether the party is indispensable under Rule 19(b). E.E.O.C. v.
  5 Peabody W. Coal Co., 610 F.3d 1070, 1078 (9th Cir. 2010). In that respect, the court
  6 considers four factors: “(1) the extent to which a judgment rendered in the person’s
  7 absence might prejudice that person or existing parties; (2) the extent to which any
  8 prejudice could be lessened or avoided by: (A) protective provisions in the judgment;
  9 (B) shaping the relief; or (C) other measures; (3) whether a judgment rendered in the
10 person’s absence would be adequate; and (4) whether the plaintiff would have an
11 adequate remedy if the action were dismissed for nonjoinder.” Fed. R. Civ. P. 19(b);
12 Lomayaktewa v. Hathaway, 520 F.2d 1324, 1326 (9th Cir. 1975).
13            Here, a cursory analysis of the factors reveals that MiniMed is not
14 indispensable. Medtronic argues in generalities that if this Court grants Plaintiffs
15 relief, “it would result in the invalidation of the Agreement, and therefore eradication
16 of MiniMed’s contractual rights to protect its confidential information or continue to
17 enforce the Order granted in the Minnesota State Action” (Dkt. 16-1, p. 29 lns. 25-28
18 & p. 30, lns. 1-2). But Plaintiffs do not seek to invalidate the Employee Agreement
19 in toto; only the provisions that are unenforceable against them under California law.
20            Moreover, a judgment rendered in MiniMed’s absence would be adequate
21 because any interests it claims can be adequately represented by Medtronic – the
22 parent entity. See Dkt. 5-6, Ex. 7, p.25, ¶2 (describing MiniMed as a wholly-owned
23 subsidiary of Medtronic MiniMed, Inc., which is a wholly owned subsidiary of
24 Medtronic). When the interests of an absent party are “adequately protected by those
25 who are present,” prejudice to the absent party is mitigated and joinder is unwarranted.
26 In re Allustiarte, 786 F.2d 910, 919 (9th Cir. 1986). Further, when a plaintiff seeks to
27 hold a parent entity liable, a subsidiary is neither necessary nor indispensable. In re
28 Toyota Motor Corp., 785 F. Supp. 2d 883, 905 (C.D. Cal. 2011). This is “because the
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  1 corporate parent’s interests are presumed identical to its subsidiaries’ and the parent
  2 has an identical incentive to defend the action.” MegaFon PJSC v. Hewlett Packard
  3 Enter. Co., No. 18-CV-06463-NC, 2019 WL 1130481, at *2 (N.D. Cal. Mar. 12,
  4 2019). Medtronic offers nothing to rebut this presumption. As the ultimate parent
  5 entity, Medtronic’s interests here are 100% identical to MiniMed’s. Medtronic can
  6 adequately represent the entity. Any conceivable prejudice to MiniMed may be
  7 lessened by the Court fashioning relief or obligations to include MiniMed, the wholly-
  8 owned downstream subsidiary. Thus, a judgment would be adequate as to all involved
  9 parties, including MiniMed. But if the case is dismissed, Plaintiffs would be deprived
10 of the opportunity to assert their rights under California law.
11            Accordingly, the Court should deny Medtronic’s motion to dismiss based on
12 failure to join under Rule 19 because MiniMed is neither necessary nor indispensable.
13 IV. CONCLUSION.
14            Medtronic does not meet the standards for dismissal under the federal rules. It
15 bears repeating that the two pending disputes are not parallel or identical. While the
16 matters may involve some cross-over arguments about the non-compete provisions in
17 the Employee Agreement, that does not warrant dismissal. As the California Supreme
18 Court noted in Medtronic, Inc. v. Advanced Bionics Corp., 29 Cal. 4th 697 (2002), two
19 declaratory relief actions over a non-compete agreement can proceed in parallel even
20 if they are pending in different states and each court applies different state laws. This
21 case is no different simply because this matter is in federal court. Accordingly,
22 Plaintiffs request that this Court deny Medtronic’s motion to dismiss in its entirety.
23    DATED: November 15, 2021                 PROCOPIO, CORY, HARGREAVES &
                                                 SAVITCH LLP
24
                                               By: /s/ Brook T. Barnes
25                                                 Marie Burke Kenny
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